UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK



In re:                                                             Chapter 11

                                                                    Case No. 15-10243 (MG)
TS EMPLOYMENT, INC.

                                  Debtor.



          DECLARATION OF IRWIN KOSSOFF IN SUPPORT OF OBJECTION
              TO EXPARTE APPLICATION OF CHAPTER 11 TRUSTEE

IRWIN KOSSOFF, declares under penalty of perjury:

         1.      I am a partner at Kossoff & Kossoff LLP ("K&K"), a certified public accounting

firm located in Goshen New York, and I make this declaration in response to the March 26, 2015

declaration   of James S. Feltman, Chapter 11 Trustee,        through which declaration I understand      he

sought injunctive relief against Tri-State Employment            Services Inc. ("TSES"),TS Employment,

Inc, (the "Debtor" ) and others. As detailed below, Mr. Feltman's declaration is erroneous in

many respects.

         2.      I am a certified public accountant and formed K & K, a small accounting firm, in

1984. Other than myself, K&K has 3 partners,          1   additional   CPA, 2 junior accountants and 5

staff employees.   K&K has approximately          2600 individual tax clients and approximately     260

business clients, including    of corporations,   partnerships    and fiduciaries, including one prior

client company with annual revenues         of approximately $50-60 million (exclusive of the Debtor

and related companies).       During my early years in public accounting, I was employed at an

accounting firm, N. Tannenbaum        & Co, , working on tax returns and other client matters,

including the filings and financial statements for one public company, Hess Oil & Chemical
Corporation.    I then worked in private industry for several years, serving as controller at several

corporations, including at a subsidiary       of Revlon Inc. , and as    an assistant budget manager for

Revlon. I was also a member of the federal tax committee of the Westchester Society of CPAs.

        3.       I have been the accountant for the Debtor since 2010 and the accountant for the

other Tri-State companies (collectively, but exclusive          of the Debtor, the "Tri-State Entities" )

since 1995.' K@K reviews and reconciles the books and records                 of the Debtor   and the Tri-State

Entities on a quarterly and annual basis. Among other services, K@K prepares the Debtor's and

the Tri-State Entities' corporate tax returns, state unemployment            forms, the form 941s which

report the payroll tax withholdings      to the Internal Revenue Service (the        "IRS") and

correspondence     with federal, state and local taxing authorities regarding taxes.

        4,       Each of the Tri-State Entities, except Carusso, is involved in the provision of

Professional Employer Organization          ("PEO") services to clients across the country. PEO

services generally consist     of payroll, benefits, worker's     compensation,     tax, and training services.

Each of the Tri-State Entities has been formed for an express purpose which makes it easier to

function and to manage the separate business requirements              of individual states or types of

clients. For example, Tri-State North Carolina provides services to clients predominantly                  in

North Carolina and TSES provides PEO services to clients nationwide                  which are generally

companies with cash on delivery payment arrangements.

                 In the case of the Debtor, it provided PEO services exclusively to Corporate

Resources Services Inc.      ("CRS") and     its wholly owned subsidiaries.        The Debtor provided

payroll services, health insurance and worker's compensation,              and made tax payments        for the

approximate    30,000 temporary employees of CRS. The Debtor rendered mostly weekly and

' The Tri-State Entities consist of Tri-State Employment Service Inc. and its 8 active subsidiaries: TSES, Broadway
                                                                     ,
PEO, STS Group, Tri-State SC, Tri-State North Carolina, Tri-Odyssey, TSE-PEO, and Carusso Staffing
("Carusso"),
some daily invoices (for daily workers) to CRS to cover these costs together with a small

administrative   fee which, including interest expense on past due balances, totaled 0.78% of

payroll in   2014.

        6.       Based upon my extensive knowledge of the books and records and tax filings of

the Debtor and the Tri-State Entities, there is no basis for the Trustee's statement           of the existence

of a "massive fraud involving the Debtor, " as alleged in $ 10 of his March 26, 2015 declaration

(the "Feltman Declaration" ), Based upon my knowledge                of the books   and records, the Tri-State

Entities have not entered into any "suspicious or lopsided business transactions with the Debtor"

(see Feltman Declaration at $ 10) and there are no missing or diverted assets as suggested by Mr.

Feltman in his declaration and accompanying            papers. In fact, the contrary is true. Every dollar

spent and transferred    by and among the Debtor and the Tri-State Entities can be accounted for.

Contrary to the Trustee's sworn statements           about   "a massive fraud"   based upon large sums of

money transferred      out   of the Debtor, the net of all transfers, debits   and credits, between the

Debtor, on the one hand, and the Tri-State Entities, on the other hand, from January 2010

through January      31, 2015 results   in a debt due from the Debtor to the Tri-State Entities       of

approximately     $32 million. Therefore, the following statements of the Trustee, seemingly made

without analysis or reference to any time periods, are meaningless             without any detail or context:

(i) the Debtor "paid Tri-State $84 million more than it received" (presumably from CRS) (see

Feltman Declaration at $ 15); (ii) the Debtor "made more than $30 million in unexplained

payments to a related company named 'Broadway PEO' for no discernable reason" (see Feltman

Declaration at $ 15); or (iii)     $1.7 billion   was transferred   from the Debtor to [Tri-State[ (see

Feltman Declaration at $ 24). Other than a vain attempt to support his baseless allegation                 of a

"massive fraud", there appears to be no reason for the Trustee to have picked out only sums
flowing out    of the Debtor   when he had available to him on the same general ledger from which

he obtained those transfers, all the monies flowing into the Debtor. The Trustee also had on the

general ledger all the journal entries reflecting payments made on behalf       of the Debtor    by the

Tri-State Entities and consolidating balances to TSES quarterly and annually.           Since all

transactions   are recorded and reconciled in the books and records     of the Debtor    and there are

quarterly and year-end consolidated balances, the Trustee could plainly see the net         of all   the

transactions   and determine that what he was saying presented an incomplete and misleading

recitation of the actual facts.

        7.       The Trustee has recently repeated his same baseless allegations in an April 15,

2015 filing, apparently without any further review of the books and records of the Debtor or

inquiry to any employee or outside vendor with knowledge          of the finances of the Debtor. (See

Trustee's Ex Parte Application, Docket No. 93, April 16, 2015.) He now poses the question

"where did that $100 million go?" (Id, p. 2) without the slightest recognition or

acknowledgement       that there may have been no $100 million in the first place, as is actually the

case here. And, in what appears to me to be an entirely unprofessional        manner for someone who

advised me he had an accounting background,         the Trustee concludes that "the Debtor may have

filled the coffers   of numerous Cassera-related companies.     " (Id. P 16). In fact, I met   with the

Trustee at his request on April 7, 2015 together with Yolanda Trippiedi, the Debtor's Corporate

Secretary, who among other things supervises the bookkeeping department            of the Debtor. This

was the perfect opportunity       for the Trustee to resolve any suspicions he might have harbored.

He made no effort to do so. Instead, at that meeting, the Trustee did not ask me a single question

about back payroll tax liabilities, transfers from the Debtor to the Tri-State Entities, the inter-

company and Debtor obligations, or any questions at all about the finances or financial
statements    of the Debtor.

        8.         Since it appears the Trustee is not providing to the Court an accurate or balanced

account of the finances       of the Debtor, I believe    it is time to set the record straight directly with

the Court.

        9.         The Debtor and the Tri-State Entities were cash strapped.              In the ordinary course

of business, every day funds were disbursed between the Debtor                 and the Tri-State Entities,

wherever cash was required to fund operations.             The inter-company       and Debtor transfers were

accurately recorded in the books and records            of each company, which books          and records were

kept separately, and then reconciled quarterly and annually.              As can be seen by a review        of the

books and records from 2010 forward, the Debtor owed monies to TSES for worker's

compensation       and medical insurance for the CRS employees.              The Debtor also sometimes had

cash available that was used by one of the Tri-State Entities for its own operations when not

immediately      needed by the Debtor. But, most often, the Debtor needed funds to pay payroll

taxes, worker's compensation          or other expenses, and the Tri-State Entities funded those costs.

The net of all those transactions as at January 31, 2015 is the approximate                $32 million net due

from the Debtor to the Tri-State Entities.

         10.       On the day the Feltman Declaration was filed (and prior to its filing), the Debtor

provided to the Trustee, at his request, the Debtor's January 2015 financial statements which

reflected the $32 million debt due from the Debtor to the Tri-State Entities (including $28

million due to     TSES). See Exhibit A attached financial statements/balance               sheet, including long-

term liabilities reflecting all inter-company         obligations broken out by company on the Debtor' s

balance sheet at January       31, 2015 and accompanying email           transmittal   on March 26, 2015.

' The only   subject matter raised by the Trustee at the meeting was about whether the payroll invoices rendered to
CRS were accurate, which they were, as Ms. Trippiedi demonstrated       to him by obtaining sample invoices and
payroll runs for randomly selected dates and comparing the two.
        11.        In addition to his selected cash figures going out of the Debtor, the Trustee also

references as another one     of his cited "questionable related-entity transactions" approximately

$20 million in overhead allocations to the Debtor from the Tri-State Entities in 2012 and 2013.

(See Feltman Declaration at $ 15,) As the Trustee himself has noted, the Debtor has no direct

employees.       The facilities and manpower to operate the Debtor are provided through Tri-State.

All administrative     expenses are shared by the Tri-State Entities and the Debtor, pro rated on the

basis of each entity's total dollar amount of client payroll,      As the Debtor's client payroll

increased over the years after 2010, its pro rata share      of the administrative    expenses dropped

from 1.8% of payroll in 2011 to      0.78% of payroll   in   2014. For example, in 2013, total

administrative     costs for the Tri-State Entities' and the Debtor's operations was approximately

$21 million. This sum consisted of approximately         $12 million in manpower costs and

approximately      $8.5 million in overhead costs, such as rent, utilities and supplies. Although the

Debtor's client payroll was over 50% of total payroll, the Debtor paid less than 50% of

administrative     costs, approximately   $9 million. For a company with approximately              $760 million

in gross revenues in     2013, overhead costs of approximately $9 million does not suggest             any

impropriety      and there was none. See Exhibit   B, Schedule of Administrative         Costs and

Allocations.

        12.        In addition to picking out numbers in isolation to deem "suspicious", the Trustee

appears to have made no effort to understand       how the payroll tax deficit arose before erroneously

alleging it involved a "massive fraud", A simple review          of the books of the Debtor make very

clear what transpired here as all transactions are recorded in those books. Those books have

been available to the Trustee at the Debtor's offices from the time         of his   appointment.

Beginning in      2011, a cash deficit arose between the Debtor     and CRS on account       of CRS's
unpaid invoices. By the end           of January 2015, that cash deficit was approximately $63 million.

Those are funds that the Debtor did not have available to it to make timely payroll tax payments.

         13.        In addition to this approximate          $63 million shortfall in payments on invoices

rendered by the Debtor to CRS, a further cash shortfall was created because the Debtor

underestimated       the costs   of worker's compensation for the approximate 30,000 CRS employees.

The Debtor had agreed to charge CRS a fixed fee on that basis which turned out to be

substantially      less than the Debtor was obligated to pay in actual costs for worker's compensation.

In addition, the Debtor was obligated to pay collateral for the worker's compensation                      claims,

which collateral was not charged to CRS at all. The shortfall between amounts charged to CRS

and amounts for which the Debtor was obligated in worker's compensation                         costs and collateral

totaled approximately       $48.5 million and $56 million, respectively, between January 2012 and

December 31, 2014. Thus, there was a total cash shortfall relating to the provision of worker's

compensation        of $104.5 million     during that period.

         14.        As background, TSES held the worker's compensation                    insurance policy issued by

Lumbermen's         Underwriting      Alliance ("Lumbermen's")           which included coverage for CRS's

30,000 temporary employees serviced by the Debtor. Therefore, the Debtor owed to TSES the

funds necessary to pay the premium              and claims on behalf       of the CRS employees,       as well as

collateral required to be maintained           by Lumbermen's         to cover the claims    of those employees.

While the Debtor charged CRS a flat fee for worker's compensation                       based upon its estimate of

cost, the Lumbermen's         policy was not based on a flat fee. The policy provided for a payment of

a percentage       of standard insurance      premium which was approximately              25% in 2014, plus 100%


' In 2012, there
               was an offset of approximately $14.1 million when the Debtor accepted stock in lieu        of cash
payment of invoices totaling approximately $14.1 million.

  I understand that a description   of the policy   and how it operated is contained in Lumbermen's   March 2, 2015
filing. (Docket Nos. 39-40.)
of the states' taxes required to be paid by Lumbermen's          on the gross premium which averaged

another approximate      20% of standard policy premium.         In addition, the Debtor was obligated to

pay up to a maximum       for each individual claim, which maximum was $1.25 million in the 2014

policy, and a required amount of collateral to be held as security for the claims which was 100%

of current claims   and a percentage     of claims for development (i. e. , anticipated      future increases in

costs to current claims). Between January 2012 and December 31, 2014, CRS was charged $84

million for worker's compensation         but the costs   of and collateral for worker's compensation for

CRS's temporary employees totaled approximately              $188.5 million, leaving a cash shortfall of

approximately    $104.5 million, Thus, the Debtor had a large cash shortfall relating to the

provision   of worker's compensation, caused        by its underestimation     of what turned out to be the

outsized costs   of claims, as   well as its obligation for large sums   of required collateral. The

Debtor's agreement with CRS with respect to CRS's payments for worker's compensation was

insufficient to cover the actual obligations      of the Debtor for worker's compensation, creating a

further cash shortfall   of the Debtor of $104.5 million.

        15.      In total, the approximately     $63 million shortfall in payments from CRS to the

Debtor on account     of unpaid invoices     and the approximate    $104.5 million shortfall created by

the delta between $84 million in the worker's compensation            costs charged to CRS and the sums

for which the Debtor was obligated for CRS's worker's compensation,               which together total

$167.5 million, is the cause of the Debtor's inability to make all payroll tax payments on a timely

basis. In short, business stresses, not a "massive fraud", account for the delay by the Debtor in

being able to fund some     of its   payroll tax payments.

        16,      The Trustee asserts, as his final alleged indication        of a "massive    fraud involving

the Debtor", that the Debtor's tax obligations       of as much as $100 million was "grossly
inconsistent with the Debtor's filed tax returns.     " (Feltman    Declaration at $ 5). In his

accompanying     ex parte application, the Trustee specifies that he is referring to the difference

between a payroll tax liability    of $26 million   allegedly reported in the Debtor's 2013 federal tax

return and the February     2015 bankruptcy filing where it was reported to the Court that the

Debtor's payroll tax liability while not finally calculated "could be as high as $100 million.             " (Ex
Parte Application, March 26, 2015, Docket No. 60, p.           3.) In the first instance, it should be noted

that from 2010 when the Debtor began in business, it has paid approximately                    $391 million

in federal payroll taxes, including       approximately      $133 million in 2014 alone. Turning to the

specific allegation of the Trustee, there was actually no $26 million in payroll tax liabilities

reported in the Debtor's 2013 federal tax return.        The payroll tax liabilities of the Debtor, which

were $67 million for the year end 2013, had been transferred to the books             of TSES, reported on

TSES's 2013 tax returns, and then, in late 2014, those 2013 tax liabilities were transferred back

to the Debtor. See Exhibit C, consisting of relevant pages from the 2013 tax returns of the

Debtor and Tri-State.

         17.     The above tax liability transfers occurred for the following reasons. On May 21,

2013, the Debtor had transferred to TSES 30,472, 676 shares of CRS stock. The stock transfer

was made to reduce the Debtor's shareholdings           in CRS so that the Debtor would not have to

report equity earnings on investment       in CRS, as required by the American Institute         of Certified

Public Accountants     ("AICPA"), which the Debtor had to do in 2012 in the approximate amount

of $185,000. For the transaction,      an independent     valuation prepared in March 2012 was used

which valued the stock at .4622 per share (when it was trading at . 55 a share) and a promissory

note in the amount    of $14,084, 410.84 was issued by TSES to the debtor. ' However, on                the day


' This stock had previously been given to the Debtor by CRS in March and July of 2012 in reduction of
approximately $14. 1 million of the outstanding debit for unpaid invoices owed by CRS to the Debtor.
of the stock transfer in May 2013, CRS stock was trading at $1.65 per share so the value of the

stock was substantially     higher, closer to $50 million.      By mid-November        2013, CRS stock was

trading at   $3.87 a share, making the more than 30 million shares transferred to TSES worth

approximately     $117,929,256. TSES intended to borrow against              and/or to sell shares in 2014 and

use the proceeds to pay all the Debtor's outstanding          back payroll taxes. However, in 2014, CRS,

which had retained a new accounting firm, Crowe Horwath, did not complete the CRS 2013

financial statements in time for CRS's usual filing in April 2014, and the financial statements

were not completed and issued until September 2014. Meanwhile, the price                   of CRS stock

declined to an average price      of approximately $1.50 in September 2014. As a result, TSES did

not sell the CRS stock and repay the Debtor's back payroll tax liabilities             of $67 million, so that

liability was transferred    back to the Debtor's books and records in late 2014. In addition to

those outstanding    payroll taxes, the Debtor, while paying $133 million in payroll taxes in 2014,

had additional unpaid payroll tax liabilities       of approximately $27 million at year        end 2014 and

another approximate       $6 million in January 2015 prior to the bankruptcy filing, which I am

informed occurred when Wells Fargo, CRS's lender, failed to provide available funds for that

purpose.     Accordingly, at the time of the bankruptcy,        the Debtor's outstanding      liabilities for back

payroll taxes was approximately        $100 million, as the Court was informed upon the bankruptcy

filing. At that same time, the Debtor also owed to Tri-State a net            of approximately $32 million.

In addition, the Debtor had other outstanding         debts   of approximately $36.5 million,        including

approximately     $9 million in overdrawn cash accounts and approximately               $27 million in accounts

payable.     See Exhibit D, Financial Statement Balance Sheet at January 31, 2015 columns D and

E. Together, the outstanding obligations of the Debtor total the approximate $167.5 million cash


' The reportingof the $67 million liability for back payroll taxes on the TSES 2013 tax return had no impact on
TSES's revenues or expenses or its tax calculations.
shortfall suffered by the Debtor since        2012. In short, there is no missing or diverted $100

million or any missing or diverted monies at all.

         18.       In January 2015, shortly before the bankruptcy            filing, I attended a meeting,

together with counsel for the Debtor, with Ms. Catherine Rodriguez, the IRS revenue agent

assigned to collection     of the Debtor's    payroll taxes. At that meeting, we discussed developing a

repayment      plan for the back 2013 and 2014 payroll taxes. We explained to Ms. Rodriguez the

steps that would be taken both by the Debtor and by CRS which would make it possible to pay

the back payroll taxes. For       2015, the Debtor had increased its gross margin to CRS by                5'/o and


CRS was going to: 1) increase prices to its clients; 2) reduce overhead and 3) exit clients with
                                                                                                                         7
bad worker's compensation         insurance experiences to reduce the cost           of worker's compensation.

Ms. Rodriguez was receptive to developing a payment plan and she recognized that the Debtor

had previously paid all back payroll taxes when the Debtor previously                  fell behind in 2012.      If

Wells Fargo had not intervened         and determined      to shut down CRS, I believe a successful plan

would have been developed, the back payroll taxes would have been paid for 2013 and 2014, and

both CRS and the Debtor would have continued in business.

         19.       In sum, there has been no "fraud" committed here. There were business stresses

at CRS which caused it to fall short on its obligations to pay the Debtor sums due, the worker's

compensation       costs owed by the Debtor were much higher than had been projected and were

charged on too low a flat fee basis to CRS, and the costs             of collateral for worker's compensation

were not charged to CRS at all. Together these factors led the Debtor to have cash shortages and

be unable to meet the payroll tax obligations in a timely fashion. Nonetheless,                   as set forth above,


' Throughout 2014, some of the business issues which were hindering profitability of the Debtor were being
analyzed and addressed, In addition to gathering information concerning the Debtor's undercharging CRS for
worker's compensation, the Debtor identified the CRS clients with the worst worker's compensation claims
experience and also sent staff to certain CRS clients to provide safety and other training in order to reduce worker's
compensation    claims.
the Debtor paid approximately    $391 in payroll taxes during its first   S years in business and I

believe would have been able to correct the errors which caused the shortfall and thus would

have been able to pay the back taxes and current tax obligations.       All transactions    are   reflecte

on the books and records   of thc Debtor from which the facts set forth     in this declaration can

easily be confirmed.

        20,     Pursuant to 28 U. S,(', 1746, I declare under penalty     of perjury that   the foregoing

is true and correct,

Executed on April 21, 201S in I3oynton Beach, Florida




                                                       IRWIN




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